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         IN THE UNITED STATES COURT OF APPEALS
                  FOR THE FIFTH CIRCUIT
                   _____________________
                        No. 21-60766
                      consolidated with
                        No. 21-60800

WAGES AND WHITE LION INVESTMENTS, L.L.C., doing business as
               TRITON DISTRIBUTION,

                                        Petitioner,

                                 v.

               FOOD & DRUG ADMINISTRATION,

                                       Respondent.


      On Petition for Review of a Final Marketing Denial Order
        by the United States Food and Drug Administration


   PETITIONERS’ PETITION FOR REHEARING EN BANC


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                 CERTIFICATE OF INTERESTED PERSONS

                            Nos. 21-60766 and 21-60800

      The undersigned counsel of record certifies that the following listed persons

and entities as described in the fourth sentence of Rule 28.2.1 have an interest in the

outcome of this case. These representations are made so that the judges of this

Court may evaluate possible disqualification or recusal.

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                     GROUNDS FOR REHEARING EN BANC

      The merits panel’s 2-1 decision flatly rejects the analysis provided in a

published decision by a unanimous motion panel of this same Court on the same

facts and arguments, Wages & White Lion Invs., LLC v. FDA, 16 F.4th 1130, 1136-

1138 (5th Cir. 2021), and conflicts with binding precedents under the Administrative

Procedure Act (“APA”). As Judge Jones notes in her dissent, “[s]ix judges of this

court have reviewed FDA’s ‘reasons’ for [its actions]” and “four of us have found

the agency’s decisions seriously inadequate.” Slip Op. at 25.

      By ignoring marketing and sales-access restriction plans presented by

Petitioners as part of their applications submitted under 21 U.S.C. § 387j for

marketing authorization for their flavored bottled e-liquids for use in e-cigarettes, or

electronic nicotine delivery systems (“ENDS”), FDA failed to consider a “relevant

factor” for addressing an “important aspect of the problem”—the “likelihood that those

who do not use tobacco products will start using such products.” See id. § 387j(c)(4).

      However, the majority opinion rejects this contention in contradiction of Michigan

v. EPA, 576 U.S. 743, 752 (2015). It also conflicts with United States Steel Corp. v.

United States EPA, 595 F.2d 207, 215 (5th Cir. 1979), in holding that, even if FDA’s

failure to consider such plans was error, it was harmless because Petitioners did not

independently prove that, absent FDA’s procedural failure, FDA would have issued them

a marketing order.



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      The majority opinion also diverges from DHS v. Regents of the Univ. of Cal.,

140 S. Ct. 1891, 1909 (2020), and Texas v. Biden, 10 F.4th 538, 558-59 (5th Cir.

2021), by adopting post hoc rationalizations to justify FDA’s failures. Finally, the

majority opinion conflicts with Christopher v. SmithKline Beecham Corp., 567 U.S.

142, 156-57 (2012), and Regents, 140 S. Ct. at 1913, in concluding that a “conditional

language” exception exists to the rule that regulated entities are allowed to rely on the

instructions provided them by regulatory agencies and that such agencies are required

to consider such reliance interests when changing their policies.

      En banc review is necessary not only to secure and maintain uniformity in the

Court’s decisions on the above points, but also because the issues presented are

exceptionally important. In addition to conflicting with the unanimous motion panel’s

opinion (authored by Judge Oldham, joined by Judges Elrod and Wilson), the majority

opinion directly conflicts with a published opinion from the Eleventh Circuit addressing

FDA’s same actions. Bidi Vapor LLC v. FDA, __ F.4th __, No. 21-13340, 2022 U.S.

App. LEXIS 23607, at **27-29 (11th Cir. Aug. 23, 2022). Further, there are

approximately forty similar appeals pending nationwide in multiple circuits, all of

which must now grapple with whether to adopt the analysis of, on the one hand, the

motion panel, Judge Jones’s dissent, and the Eleventh Circuit, or, on the other, the

majority.




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                           STATEMENT OF THE ISSUES

      1.       Whether FDA acted arbitrarily in ignoring marketing and sales-access

restriction plans in denying applications for marketing authorization after

representing it would review such plans and calling them “critical,” “necessary,” and

“directly relevant” to that determination.

      2.       Whether the APA’s “harmless error” doctrine requires Petitioners to

independently prove that FDA would have reached an opposite outcome where

FDA’s mistake affected the procedure used.

      3.       Whether FDA’s post hoc rationalizations justify its refusal to consider

marketing plans FDA previously promised to review.

      4.       Whether a “conditional language” exception exists that prevents

regulated entities from relying on agencies’ representations.

                 STATEMENT OF FACTS AND PROCEEDINGS

      This case arises from the FDA’s issuance of Marketing Denial Orders

(“MDOs”) to Petitioners in response to the premarket tobacco product applications

(“PMTAs”) they submitted for their bottled e-liquid ENDS products under 21 U.S.C.

§ 387j.

      In September 2020, relying on years of representations by FDA as to the

requirements for a successful PMTA, Petitioners submitted their applications

without long-term clinical studies comparing their flavored ENDS products against



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tobacco-flavored ENDS products. Almost a year after the deadline for submitting

such applications, FDA stated for the first time that marketing of flavored ENDS

products would be authorized only if PMTAs included long-term studies showing

that an applicant’s flavored ENDS products are more effective at promoting

cessation of combustible cigarette use than comparable tobacco-flavored ENDS

products.1

        Less than a week after FDA changed its requirements, Petitioners advised

FDA that they intended to conduct such studies to supplement their PMTAs. Wages,

16 F.4th at 1136. However, two weeks later, FDA issued Petitioners MDOs, stating

that the agency had not reviewed the letter because it was “received near the

completion of scientific review.” A57-68, A124-128.

        The MDOs demanded that Petitioners provide randomized controlled trials,

longitudinal cohort studies, or other long-term studies that compared the efficacy of

their flavored ENDS products to tobacco-flavored ENDS products on adult smokers’

switching or cigarette reduction over time. A57, A66, A124. Because this evidence

was absent, “scientific review did not proceed to assess other aspects of

[Petitioners’] application[s].” A58, A67, A125.




1
    FDA, Aug. 26, 2021 Press Release, https://bit.ly/2YsYmzd.

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      FDA therefore ignored Petitioners’ marketing plans and much of the “other

evidence” Petitioners submitted. A57-68, A124-128. Likewise, FDA’s subsequently

released Technical Project Lead (“TPL”) reports were nearly identical to each other

and to the hundreds of other TPL reports prepared for other applications. A83, A135.

The TPL reports state that, “for the sake of efficiency, the evaluation of the

marketing plan in applications will not occur at this stage of review, and we have

not evaluated any marketing plans submitted with these applications.” A93 n.xix;

A145 n.xix.

      Shortly after petitioning for review, Petitioner Triton moved for an emergency

stay of its MDOs. On October 25, 2021, in a published opinion, the motion panel

unanimously granted the motion, holding that FDA “pulled a surprise switcheroo”

and failed to “reasonably consider the relevant issues and reasonably explain the

[MDOs].” Wages, 16 F.4th at 1136-1138.

      The split merits panel ruled against Petitioners, finding the MDOs were not

arbitrary. The 2-1 majority opinion accepted FDA’s post hoc rationalizations and

discounted the motion panel’s unanimous and detailed decision. The majority relied

heavily on a ruling by a Sixth Circuit motion panel denying a stay motion from an




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unrelated entity that sold a completely different ENDS product. E.g., Slip Op. at 18-

19.2

       Judge Jones dissented, explaining that FDA’s actions made a “mockery of

‘reasoned’ administrative decision-making” by “(1) chang[ing] the rules for private

entities in the middle of their marketing application process, (2) fail[ing] to notify

the public of the changes in time for compliance, and then (3) rubber-stamp[ing] the

denial of their marketing applications because of the hitherto unknown

requirements.” Id. As Judge Jones noted, “Kafka would have understood FDA all

too well.” Id.

                                   ARGUMENT

I.     The Majority Opinion Conflicts with Binding Supreme Court and Fifth
       Circuit Precedents, as Well as with the Eleventh Circuit

       The majority of Fifth Circuit judges to consider Petitioners’ arguments have

found—with good reason—that FDA likely acted unlawfully. Binding Supreme

Court and Fifth Circuit precedents require this finding. The majority opinion



2
  The majority appears to place greater weight on the Sixth Circuit motion panel’s
opinion, Breeze Smoke, LLC v. FDA, 18 F.4th 499, 506 (6th Cir. 2021), because the
Supreme Court denied that petitioner’s application for a stay. Slip Op. at 18. It over-
emphasizes the importance of that decision. The bar for a stay from the Supreme
Court is higher than for the lower federal courts and requires a “reasonable
probability” that at least four Supreme Court justices would grant certiorari.
Maryland v. King, 567 U.S. 1301, 1302 (2012). But there are many reasons why the
Supreme Court justices may have denied certiorari—including that there was not yet
a conflict among the circuit courts on the merits. Cf. id.

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conflicts with these precedents in four respects: (1) it allows FDA to ignore an

admittedly “relevant factor” and “important aspect of the problem”; (2) it disregards

precedent regarding the APA’s harmless error rule; (3) it relies on impermissible

post hoc rationalizations; and (4) it creates a hitherto unknown “conditional

language” exception to precedent regarding regulated entities’ reliance interests. As

to the first two points, the majority opinion also conflicts with the Eleventh Circuit’s

conclusions regarding FDA’s actions.

      A.     The Majority Opinion Allows FDA to Ignore a Relevant Factor and
             Important Aspect of the Problem

      The majority opinion contravenes binding precedent requiring the Court to find

FDA’s MDOs arbitrary if the agency failed to consider a “relevant factor” and an

“important aspect of the problem.” Michigan v. EPA, 576 U.S. at 752.

      In a materially similar case, the Eleventh Circuit held such plans “were relevant

factors to the [FDA’s] determination as to whether marketing the [subject flavored ENDS]

products would be ‘appropriate for the protection of the public health.’ See 21 U.S.C. §

387j(c)(2)(A),” and that FDA’s failure to consider them was not “harmless error.” Bidi,

2022 U.S. App. LEXIS 23607, at **27-29. Writing for the majority, Chief Judge

William Pryor found such plans “bear on the statutory requirement to consider the

‘likelihood that those who do not use tobacco products will start using such products.’ See

id. § 387j(c)(4).” Bidi at *27. FDA’s “guidance documents establish that [FDA] recognized

the plans to be relevant to its analysis” and the explanations accompanying FDA’s


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proposed and final PMTA rule “identify this information as ‘critical,’ ‘necessary,’ and

‘directly relevant’ to [FDA’s] analysis.” Id. Further, because every TPL report stated that

FDA did not consider marketing plans because of its experience, it is unclear which

marketing and sales-access proposals FDA ever allegedly evaluated before making the

decision not to review any further plans. Id. at **28-29.

       For its part, the panel majority concluded that “FDA did not act arbitrarily and

capricious in not reviewing the marketing plans, and if they did, such error was harmless.”

Slip Op. at 20. Such was the case, the majority concluded, because Petitioners’ marketing

plans were not “unique,” and FDA determined that “traditional marketing schemes do not

work.” Id. at 22.

       Even relying on FDA’s 2020 Enforcement Guidance, id. at 23, which, for the

reasons discussed in Section I.C.1., below, was an impermissible post hoc rationalization,

the panel majority gets it wrong. As Judge Jones notes, “the 2020 [Enforcement] Guidance

has nothing to do with this case” because it “discussed enforcement priorities, and it did

not purport in any way to amend the definitive PMTA Guidance documents that

emphasized the importance of marketing plans.” Slip Op. at 33-34. Even setting that aside,

“[t]he 2020 [Enforcement] Guidance did not state that existing marketing and sales-

access restriction plans were categorically ineffective for electronic nicotine-

delivery systems other than flavored, cartridge-based products.” Bidi, 2022 U.S.

App. LEXIS 23607, at *33; accord Slip Op. at 34 n.6 (Jones, J., dissenting). Rather,



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for such products, “including the flavored but not cartridge-based products

submitted by the tobacco companies here, the 2020 Guidance stated that [FDA]

intended to consider the companies’ marketing and sales-access-restriction plans.”

Bidi, 2022 U.S. App. LEXIS 23607, at *33. Thus, the Eleventh Circuit correctly

concluded, “[t]he 2020 [Enforcement] Guidance did not absolve [FDA] of the

requirement to consider the tobacco companies’ youth-prevention plans.” Id. at *34.

      Indeed, the 2020 Enforcement Guidance listed several factors for determining

whether manufacturers of non-cartridge-based ENDS products, like Petitioners’

bottled e-liquids, were taking “adequate measures” to prevent youth access, A204-

205. Petitioners’ marketing plans contained several of these recommendations from

FDA, including online sales restricted to adults verified through independent, third-

party age verification and sales quantity limits, as well as novel features, such as not

using influencers and limiting social media posts to product imagery only without

human models, A394-400, A445-452.3




3
  In attempting to defend the 2020 Enforcement Guidance as a justification, the
majority illogically argues that because 2018 youth usage data was unavailable until
November 2018, that prevented FDA from modifying its position that marketing
plans were critical in the June 2019 PMTA Guidance or thereafter. Slip Op. at 21
n.16.

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      B.     The Majority Opinion Disregards Precedent Regarding the APA’s
             Harmless Error Doctrine

      The panel majority’s conclusion that FDA’s failure to evaluate the marketing

plans was harmless error also disregards Circuit precedent and creates a split with

the Eleventh Circuit. Before the majority opinion, it had long been recognized in this

Circuit, as in others, that the doctrine of harmless error applies “only ‘when a mistake

of the administrative [agency] is one that clearly had no bearing on the procedure

used or the substance of decision reached.’” United States Steel Corp., 595 F.2d at

215 (quoting Braniff Airways v. CAB, 379 F.2d 453 (D.C. Cir. 1967)). Where the

agency’s failure “plainly affected the procedure used,” the Court “cannot assume

that there was no prejudice to petitioners,” as the “absence of such prejudice must

be clear for harmless error to be applicable.” Id. (citations omitted); accord Sierra

Club v. United States Fish & Wildlife Serv., 245 F.3d 434, 444 (5th Cir. 2001)

(finding prejudicial error where flawed regulatory definition informed conclusion

that designation of a threatened species’ critical habitat was unwarranted); see also

Sea “B” Mining Co. v. Addison, 831 F.3d 244 (4th Cir. 2016) (finding prejudicial

error in black lung appeal where ALJ failed to consider all CT scan evidence

suggesting absence of black lung because ALJ failed to properly weigh or explain

CT scan evidence as a whole, including against contradictory x-ray evidence).

      While “the burden of showing that an error is harmful normally falls upon the

party attacking the agency’s determination,” such does “not . . . impose a complex


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system of ‘burden shifting’ rules or a particularly onerous requirement. . . . Often,

the circumstances of the case will make clear to the appellate judge that the ruling,

if erroneous, was harmful and nothing further need be said.” Shinseki v. Sanders,

556 U.S. 396, 410-11 (2009).

      Turning this “not . . . particularly onerous requirement” on its head, the

majority opinion states that “[t]he burden falls on Petitioners to show that they would

have received authorization had FDA considered [their marketing] plans. . . . They

have not done so.” Slip Op. at 23-24. As the Eleventh Circuit observed, “[i]t is

difficult to imagine how failure to consider a relevant factor would clearly have no

bearing on the procedure used or the substance of the decision reached. . . . Because

[FDA] may reach a different result when it considers the marketing and sales-access-

restriction plans, we cannot say [FDA’s] error was harmless.” Bidi, 2022 U.S. App.

LEXIS 23607, at **32-33 (cleaned up). Indeed, the majority opinion’s harmless

error analysis caused the Eleventh Circuit to conclude that “our harmless-error

standard is different than that imposed by the Fifth Circuit” despite reciting an

identical formulation of the test. Id. at **40-41 (citing United States v.

Schwarzbaum, 24 F.4th 1355, 1366 (11th Cir. 2022)). As Judge Jones correctly

concluded, “[t]aken in conjunction with the agency’s violation of other

administrative norms through its failures of notice and ignoring petitioners’ reliance

interests, the majority has no basis for claiming harmless error.” Slip Op. at 35.



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       C.     The Majority Opinion                Impermissibly     Adopts      Post    Hoc
              Rationalizations

       The majority opinion also ignores a “fundamental precept of administrative

law that an administrative agency cannot make its decision first and explain it later.”

Texas v. Biden, 10 F.4th at 558-59. FDA must “defend its actions based on the

reasons it gave when it acted.” Regents, 140 S. Ct. at 1909. However, rather than reject

post hoc rationalizations offered by FDA, see Motor Vehicle Mfrs. Ass’n of U.S., Inc. v.

State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 50 (1983), the majority accepts and adopts

them as valid grounds for the MDOs. The after-the-fact explanations include: (1) FDA’s

reliance on the 2020 Enforcement Guidance as an excuse for its failure to evaluate

Petitioners’ marketing plans; and (2) new criticisms of Petitioners’ consumer surveys that

even FDA did not assert. As Judge Jones concluded, these post hoc rationalizations reflect

FDA’s failure to “turn[] square corners” with respect to Petitioners. Slip Op. at 31 n.5, 34.

              1.     FDA’s 2020 Enforcement Guidance

       Despite repeatedly representing that applicants’ marketing and sales access

restrictions were a “critical” element of a PMTA and FDA’s review process, FDA

admittedly did not evaluate Petitioners’ marketing plans “for the sake of efficiency.” A93,

n.xix, A145 n.xix. FDA’s explanation for its refusal to evaluate the marketing plans in the

TPL reports does not mention the 2020 Enforcement Guidance.4 Id.


4
  The TPL reports reference the 2020 Enforcement Guidance only to explain that youth
shifted from cartridge-based devices to disposable devices after FDA specifically

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       Addressing the explanations FDA gave in the MDOs and the TPL reports, both the

unanimous motion panel and Judge Jones found that ignoring the marketing plans “for the

sake of efficiency” was insufficient. 16 F.4th at 1136-38; Slip Op. at 32-33. But, as Judge

Jones observes, Slip Op. at 32-33, the majority ignores FDA’s stated reason for not

evaluating the marketing plans and instead relies heavily on FDA’s 2020 Enforcement

Guidance to suggest that Petitioners “should have known that marketing plans on their own

are not particularly useful,” id. at 19-23. Because, prior to the merits briefing, FDA itself

never relied on or referenced the 2020 Enforcement Guidance as a reason for refusing to

evaluate the marketing plans, this justification is quintessentially post hoc in nature.5

       The majority opinion also notes that FDA represented at oral argument that “what

it did review included a summary of the marketing plans.” Slip Op. at 22. But, this



excluded them from its enforcement prioritization, not as an explanation for FDA’s
refusal to review Petitioners’ marketing plans. A86-87, A138-139.
5
  As explained in Section I.A., above, the 2020 Enforcement Guidance was limited to a
determination that marketing and sales-access-restrictions plans “were insufficient to curb
youth use of flavored, cartridge-based products based on their nature and popularity,” not
all flavored ENDS products. Bidi, 2022 U.S. App. LEXIS 23607, at *39 (emphasis
added). FDA first concluded that “across different device types, the role of flavor is
consistent,” A171-172, and extended its conclusion regarding the relative unimportance of
reviewing marketing and sales-access-restrictions to non-cartridge-based products like
Petitioners’ bottled e-liquids in an internal memorandum dated August 17, 2022, that
served as the template for the TPL reports, A175 n.xxii. FDA failed to give fair notice of
this policy change made eleven months after applications were due, as Petitioners did not
learn of this change until FDA produced the administrative record in this appeal.
SmithKline Beecham, 567 U.S. at 156-57.



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explanation is further post hoc rationalization. Appellate counsel cannot claim at oral

argument that the agency considered something that the MDOs and TPL reports state was

not assessed or evaluated. And, regardless, this fact is irrelevant; as the review forms,

A70, A130, and TPL reports, A96, A148, make clear, FDA only reviewed the applications

for evidence comparing the subject flavored ENDS products with tobacco-flavored ENDS

products for their effects on cigarette smoking reduction or cessation. Even if FDA

reviewed a “summary” of the marketing plans, FDA admittedly failed to evaluate them or

account for their contents when weighing the risks and benefits of marketing the subject

products.

              2.      Criticisms of Petitioners’ Consumer Surveys

      The majority opinion also goes far beyond “defend[ing FDA’s] actions based on the

reasons it gave when it acted, ” Regents, 140 S. Ct. at 1909, when it dismisses evidence

of benefits to adult smokers provided by Petitioners. Even while recognizing that its review

is “limited” because Congress “deemed only the FDA as the scientific expert here—not

the federal courts,” Slip Op. at 12, the majority takes it upon itself to criticize Petitioners’

consumer surveys, including one conducted by Vapetasia showing that 82.99% of

respondents reported that ENDS products helped them quit smoking. Id. at 13-14.

According to the majority, the Vapetasia survey suffers from “methodological flaws” and

“there were strong reasons to doubt the survey’s results.” Id. at 13. These are post hoc




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rationalizations not raised during FDA’s review of Petitioners’ PMTAs nor by FDA’s

litigation counsel.

         FDA’s review forms failed to even identify, much less discuss, the surveys, and

FDA’s only comment on the Vapetasia consumer survey in the MDO was that it failed to

evaluate some of the specific products in the application or to evaluate product switching

or cigarette reduction from use of Vapetasia’s products over time—a new requirement that

both the motion panel and Judge Jones found FDA impermissibly imposed well after the

fact. A124-125; Wages, 16 F.4th at 1141-42; Slip Op. at 36.

         D.     The Majority Opinion Creates a New “Conditional Language”
                Exception for Agencies to Avoid Reliance Interests

         The majority concludes that Petitioners could not have had a reliance interest

in FDA’s previous statements because FDA used “conditional language.” Slip. Op.

at 17.

         Such a “conditional language” exception contradicts binding precedent that

agencies must provide fair notice of what is prohibited or required and cannot

unfairly surprise regulated entities by penalizing them for “good faith reliance” on

the agency’s prior positions. SmithKline Beecham, 567 U.S. at 156-57; accord Slip.

Op. at 38 (Jones, J., dissenting). The majority’s conclusion would enable agencies to

regularly change their policies, requirements, and restrictions without notice; judicial

review would be undermined because agencies could disclaim their prior

representations. As the motion panel observed, “[i]t is enough that the FDA’s guidance


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indicated long-term studies were likely unnecessary, while the [MDO] at the very least

created a strong presumption that such evidence is required.” Wages, 16 F.4th at 1141.

II.   The Issues Presented are of Exceptional Importance

      Rehearing en banc is also appropriate because this case raises issues of

exceptional importance.

      This case is the first merits ruling among approximately forty similar

challenges to MDOs for flavored ENDS products pending nationwide.6 As noted, in

Bidi, the Eleventh Circuit reached conclusions diametrically opposed to the majority

opinion here and consistent with Judge Jones’ dissent. Other circuits’ opinions

issued to date siding with FDA are readily distinguishable. See Prohibition Juice Co.

v. FDA, __ F.4th __, 2022 U.S. App. LEXIS 20511, at **38-42, 46-47 (D.C. Cir.

July 26, 2022) (holding petitioners’ statements made at oral argument conceded

harmless error); Gripum, LLC v. FDA, __ F.4th __, 2022 U.S. App. LEXIS 24299,

at **10-11 & n.1 (7th Cir. Aug. 29, 2022) (holding petitioner waived any challenge

to FDA’s failure to consider marketing plans). Similar appeals are pending in this

Circuit and in the Second, Third, Fourth, Ninth, Tenth, and D.C. Circuits. Supra n.6.




6
    Vaping360.com, https://vaping360.com/vape-news/111563/vape-companies-
challenging-fda-marketing-denials/.



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      The majority opinion’s rejection of the analysis set forth in Judge Oldham’s

stay opinion, despite no substantive change in the facts or arguments beyond FDA’s

additional post hoc explanations, presents the Court’s sister circuits with the

dilemma of deciding whether the analysis put forth by this Court’s motion panel and

Judge Jones (as well as the Eleventh Circuit) is more persuasive than the competing

analysis on the same issues in the same case in the majority opinion.

      The 2-1 majority opinion, particularly if adopted by other circuits, will

decimate the ENDS industry. FDA has already issued MDOs for more than one

million flavored ENDS products on the basis cited in Petitioners’ MDOs.7 If left

untouched, the majority opinion would allow FDA to deny remaining applications

under any new, undisclosed evidentiary standard or requirement that FDA invents

or justifies with an after-the-fact explanation. Instead of being held to its

representations to applicants, FDA and its actions will remain insulated from

meaningful judicial review.

                                 CONCLUSION

      The Court should grant Petitioners’ petition for rehearing en banc.




7
  FDA, Oct. 12, 2021 Press Release, https://www.fda.gov/news-events/press-
announcements/fda-permits-marketing-e-cigarette-products-marking-first-
authorization-its-kind-agency.



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                         Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      I hereby certify that on September 1, 2022, a true and correct copy of the

foregoing Petitioners’ Petition for Rehearing En Banc was filed with the Clerk’s

Office for the United States Court of Appeals for the Fifth Circuit using the CM/ECF

system and served via electronic mail via the Court’s ECM/ECF system. Participants

in this case are registered ECM/ECF users, and service will be effected via the

ECM/ECF system.




                                                     /s/ Eric N. Heyer
                                               Eric N. Heyer




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                     CERTIFICATE OF COMPLIANCE

      I hereby certify that Petitioners’ Petition for Rehearing En Banc complies with

the type-volume requirement set forth in Federal Rule of Appellate Procedure

35(b)(2)(A). The word count feature found in Microsoft Word reports that the

Petition contains 3,897 words, excluding the items exempted by Federal Rule of

Appellate Procedure 32(f).

      The Petitioners’ Petition complies with the typeface and typestyle

requirements of Federal Rule of Appellate Procedure 32 because this document has

been prepared in a proportionally spaced typeface using Microsoft Word in Times

New Roman, size 14 font.



                                            /s/ Eric N. Heyer
                                      Eric N. Heyer




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           United States Court of Appeals
                for the Fifth Circuit
                                                              United States Court of Appeals
                                                                       Fifth Circuit

                                                                     FILED
                                                                 July 18, 2022
                               No. 21-60766                     Lyle W. Cayce
                                                                     Clerk

   Wages and White Lion Investments, L.L.C., doing business as
   Triton Distribution,

                                                              Petitioner,

                                  versus

   Food and Drug Administration,

                                                             Respondent,


                          consolidated with
                            _____________

                             No. 21-60800
                            _____________

   Wages and White Lion Investments, L.L.C., doing business as
   Triton Distribution; Vapetasia, L.L.C.,

                                                             Petitioners,

                                  versus

   Food and Drug Administration,

                                                             Respondent.
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                      Petitions for Review of an Order of the
                          Food and Drug Administration


   Before Jones, Haynes, and Costa, Circuit Judges.
   Haynes, Circuit Judge:
          Petitioners Wages and White Lion Investments, LLC, d/b/a Triton
   Distribution (“Triton”) and Vapetasia, LLC (“Vapetasia”) sought to
   market flavored nicotine-containing e-liquids for use in open-system e-
   cigarette devices. To do so, Petitioners needed to submit premarket tobacco
   product applications as required by 21 U.S.C. § 387j—which the Food and
   Drug Administration (“FDA”) deemed applicable to e-cigarette tobacco
   products in 2016. FDA denied the requested marketing authorizations,
   finding that Petitioners failed to offer reliable and robust evidence (such as
   randomized controlled trials or longitudinal studies) to overcome the risks of
   youth addiction and show a benefit to adult smokers.
          Petitioners seek review of those marketing denial orders (“MDOs”),
   and prior to the consolidation of the two cases, Triton requested a stay
   pending that review. Without (of course) the benefit of full merits briefing,
   a prior panel of this court granted the stay, determining (as any court granting
   a stay application must determine) that there was “a strong likelihood of
   success on the merits.” Wages & White Lion Invs., L.L.C. v. FDA, 16 F.4th
   1130, 1136, 1144 (5th Cir. 2021). But having now had the opportunity to
   review the merits briefing followed by oral argument, we DENY the
   petitions for review.
                      I. Statutory & Regulatory Landscape
          To fully appreciate the events that gave rise to the petitions before us,
   we begin with a careful review of the statutory and regulatory background.
   Nearly a century ago, Congress passed the Food, Drug, and Cosmetics Act
   (“FDCA”), Pub. L. No. 75-717, 52 Stat. 1040 (1938) (codified at 21 U.S.C.




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   § 301, et seq.), which established broad regulatory authority—such as a
   premarket “new drug” authorization requirement—to protect the public
   against the dangers of “adulterated and misbranded food, drugs, devices, and
   cosmetics.” 52 Stat. at 1040, 1052; see generally id. at 1040–59.
          The FDCA developed substantially over the next fifty-eight years, but
   tobacco remained unregulated through the Act and its accompanying
   regulations. That is, until 1996, when FDA determined that it could regulate
   tobacco given its existing authority to regulate drugs and devices. Nicotine
   in Cigarettes and Smokeless Tobacco Is a Drug, 61 Fed. Reg. 44,619 (Aug.
   28, 1996). “Like the products that FDA traditionally regulates,” tobacco
   products are “placed within the human body; like many of these products,
   they deliver a pharmacologically active substance to the bloodstream; and
   like these products, they have potentially dangerous effects. Indeed, no
   products cause more death and disease . . . .” Id. at 44,628. On that basis,
   FDA determined that it had jurisdiction to regulate tobacco products. Id.
          The Supreme Court disagreed. In a landmark decision, the Court held
   that “Congress . . . precluded the FDA’s jurisdiction to regulate tobacco
   products.” FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 133
   (2000). The Court’s reasoning centered on Congress’s failure to amend the
   FDCA to give FDA that authority, Congress’s enactment of several tobacco
   statutes, and FDA’s prior assertion that it lacked jurisdiction. Id. at 155–57.
   Following Brown & Williamson Tobacco Corp., if Congress wanted FDA to
   regulate tobacco, it would have to grant the agency that authority expressly.
          So Congress did precisely that. In 2009, it passed the Family Smoking
   Prevention and Tobacco Control Act (“TCA”), Pub. L. No. 111-31, 123 Stat.
   1776 (2009) (codified at 21 U.S.C. § 387, et seq.), which amended the FDCA
   to include the regulation of tobacco. Section 2 of the Act laid out myriad
   congressional findings, which pointed to the dangerous effects of tobacco on




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   both adults and children. See, e.g., TCA § 2(34), 123 Stat. at 1779 (“Because
   the only known safe alternative to smoking is cessation, interventions should
   target all smokers to help them quit completely.”); id. § 2(1), 123 Stat. at 1777
   (“The use of tobacco products by the Nation’s children is a pediatric disease
   of considerable proportions that results in new generations of tobacco-
   dependent children and adults.”).             “Obviously,” given the extensive
   congressional record, “the TCA’s purpose sounds in (1) protecting public
   health and (2) preventing young people from accessing (and becoming
   addicted to) tobacco products.” Big Time Vapes, Inc. v. FDA, 963 F.3d 436,
   444 (5th Cir. 2020), cert. denied, 141 S. Ct. 2746 (2021) (mem.).
          Congress also found that FDA had the relevant “scientific expertise
   to . . . evaluate scientific studies supporting claims about the safety of
   products[] and to evaluate the impact of labels, labeling, and advertising on
   consumer behavior in order to reduce the risk of harm and promote
   understanding of the impact of the product on health.” TCA § 2(44), 123
   Stat. at 1780. To that end, Congress gave FDA broad authority to regulate
   tobacco products, requiring that most “new tobacco product” receive
   authorization from the FDA prior to marketing. 21 U.S.C. § 387j(a)(2)(A).
          The TCA defines “new tobacco product” (in relevant part) as “any
   tobacco product . . . that was not commercially marketed in the United States
   as of February 15, 2007.” Id. § 387j(a)(1)(A). The Act lists specific
   categories of tobacco products subject to regulation—“all cigarettes,
   cigarette tobacco, roll-your-own tobacco, and smokeless tobacco”—but it
   also provides that the Act will apply “to any other tobacco products that the
   Secretary by regulation deems to be subject to this subchapter.”                  Id.
   § 387a(b). 1 In 2016, FDA used that authority to deem e-cigarettes and their


          1
            We recently rejected the argument that this provision constitutes an unlawful
   delegation of congressional power. Big Time Vapes, 963 F.3d at 447. In reaching that




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   component parts (including e-liquids) as tobacco products subject to the
   requirements of the TCA. Deeming Tobacco Products To Be Subject to the
   Federal Food, Drug, and Cosmetic Act, 81 Fed. Reg. 28,974 (May 10, 2016)
   (“Deeming Rule”). 2
           Relevant here, the Deeming Rule subjected e-cigarette manufacturers
   to the TCA’s prior authorization requirement—manufacturers of “new
   tobacco product[s]” must submit premarket tobacco product applications
   (“PMTAs”). See 21 U.S.C. § 387j(a)(2). FDA reviews the PMTAs and is
   statutorily required to decline them if “there is a lack of a showing that
   permitting such tobacco product to be marketed would be appropriate for the
   protection of the public health.” Id. § 387j(c)(2)(A). In determining whether
   a product is appropriate for the protection of the public health (referred to as
   the “APPH” standard), FDA must consider “the risks and benefits to the



   decision, this court extensively examined the TCA’s purpose and relevant background. Id.
   at 444.
           2
           As Petitioners showcased at oral argument, e-cigarettes can come in various
   forms. FDA provided a helpful explanation in its briefing:
           Some devices have “pods” or “cartridges” that hold nicotine-containing
           liquid known as “e-liquid.” Some pods or cartridges (known as closed
           systems) come pre-filled with e-liquid and are replaced after the e-liquid is
           used up, while others (known as open systems) can be refilled by the user.
           Tank or “mod” (short for “modifiable”) devices can also be refilled by
           users and are also usually customizable. Disposable e-cigarettes come
           prefilled with the e-liquid, and the entire device is designed to be discarded
           after the e-liquid runs out.
           Collectively, these devices are referred to as electronic nicotine delivery systems
   (“ENDS”), but the term “ENDS” is sometimes used interchangeably with e-cigarettes.
   We mimic one of our sister courts in simply using the term “e-cigarettes” for ease of
   reference. See Nicopure Labs, LLC v. FDA, 944 F.3d 267, 273 n.1 (D.C. Cir. 2019) (“We
   use the term ‘e-cigarettes’ to refer to the full range of products that the Industry calls
   ‘vapor products’ and the FDA calls Electronic Nicotine Delivery Systems, or ENDS.
   They go by many other names as well . . . .”).




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   population as a whole.” Id. § 387j(c)(4). This includes considering “the
   increased or decreased likelihood that existing users of tobacco products will
   stop using such products,” id. § 387j(c)(4)(A), as well as “the increased or
   decreased likelihood that those who do not use tobacco products will start
   using such products,” id. § 387j(c)(4)(B).
           The Deeming Rule was set to go into effect on August 8, 2016, but
   FDA delayed enforcement of the regulation as to existing e-cigarette
   manufacturers. 81 Fed. Reg. at 28,977. Instead, manufacturers would have
   a two- to three-year period to come into compliance. Id. at 28,977–78. In
   2017, the FDA pushed that deadline to 2022. 3 But shortly after extending
   the deadline, the American Academy of Pediatrics sued the FDA for granting
   the extension. See Am. Acad. of Pediatrics v. FDA, 399 F. Supp. 3d 479 (D.
   Md. 2019). A federal court vacated FDA’s 2017 guidance and required FDA
   to set a new deadline at ten months after the issuance of its order. Id. at 480–
   81, 487. The deadline shifted once again due to the COVID-19 pandemic,
   making the final deadline September 9, 2020.
                                     II. The Petitions
           Waiting to file until the deadline date, on September 9, 2020,
   Petitioners submitted PMTAs in an effort to manufacture and sell various
   flavored e-cigarette products. 4         Specifically, they sought approval for
   products that came in flavors like sour grape, pink lemonade, crème brulee,


           3
            FDA, Enforcement Priorities for Electronic Nicotine Delivery Systems (ENDS)
   and Other Deemed Products on the Market Without Premarket Authorization (Revised):
   Guidance      for     Industry         5       (2020)       (“2020        Guidance”),
   https://www.fda.gov/media/133880/download.
           4
             Triton and Vapetasia submitted nearly identical PMTAs because Triton operates
   as a contract manufacturer for Vapetasia and the two worked together extensively (as they
   continue to do in this litigation). Triton prepared Vapetasia’s PMTAs, and the two jointly
   filed Vapetasia’s petition for review.




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   peachy strawberry, milk & cookies, and pound cake and with names such as
   “Jimmy The Juice Man Strawberry Astronaut” and “Suicide Bunny Bunny
   Season.”
            On September 14 and 16, 2021, FDA issued marketing denial orders
   to Petitioners. FDA listed the following as the “key basis” for Triton’s
   MDO (with emphasis on the language Petitioners take issue with):
            All of your PMTAs lack sufficient evidence demonstrating that
            your flavored ends will provide a benefit to adult users that
            would be adequate to outweigh the risks to youth. In light of
            the known risks to youth of marketing flavored ends, robust
            and reliable evidence is needed regarding the magnitude of the
            potential benefit to adult smokers. This evidence could have been
            provided using a randomized controlled trial and/or longitudinal
            cohort study that demonstrated the benefit of your flavored ends
            products over an appropriate comparator tobacco-flavored ends.
            Alternatively, FDA would consider other evidence but only if
            it reliably and robustly evaluated the impact of the new flavored
            vs. Tobacco-flavored products on adult smokers’ switching or
            cigarette reduction over time. We did not find such evidence
            in your PMTA[s]. Without this information, FDA concludes
            that your application is insufficient to demonstrate that these
            products would provide an added benefit that is adequate to
            outweigh the risks to youth and, therefore, cannot find that
            permitting the marketing of your new tobacco products would
            be appropriate for the protection of the public health.

   Vapetasia received a very similar basis for denial, but for Vapetasia, FDA
   added:
            Although your PMTAs contained a cross-sectional survey
            “Vapetasia PMTA Survey and Testimonial”, this evidence is
            not sufficient to show a benefit to adult smokers of using these
            flavored ENDS because it does not evaluate the specific
            products in the application(s) or evaluate product switching or




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          cigarette reduction resulting from use of these products over
          time.

   Along with each MDO, FDA provided a Technical Project Lead report that
   described their reasoning in much greater detail.
          Petitioners timely sought review of the MDOs in this court. They
   argue, primarily, that FDA lacks the authority to impose a comparative
   efficacy requirement and that FDA acted arbitrarily and capriciously by
   “requiring” scientific studies. Triton moved for a stay. After the stay was
   granted, the two cases were consolidated for appeal.
                     III. Jurisdiction & Standard of Review
          We have jurisdiction under 21 U.S.C. § 387l(a)(1)(B), which
   authorizes federal court review of the denial of premarket tobacco product
   applications in a U.S. Court of Appeals “for the circuit in which” the
   individual or entity that received such a denial “resides or has their principal
   place of business.” Triton’s principal place of business is Richardson, Texas,
   giving us jurisdiction over its petition and the petition it jointly filed with
   Vapetasia.
          The FDA’s denial of Petitioners’ premarket authorizations is
   reviewed under the standards set by the Administrative Procedure Act
   (“APA”). See 21 U.S.C. § 387l(b). The APA allows a reviewing court to set
   aside an agency determination if that determination was “arbitrary,
   capricious, an abuse of discretion, or otherwise not in accordance with law.”
   5 U.S.C. § 706(2)(A). “The scope of review under the ‘arbitrary and
   capricious’ standard is narrow[,] and a court is not to substitute its judgment
   for that of the agency.” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm
   Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983).




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                                       IV. Discussion
           Petitioners advance two primary arguments: (1) FDA acted arbitrarily
   and capriciously by pulling a “surprise switcheroo” on Petitioners and failing
   to consider important aspects of the PMTAs; and (2) FDA lacks statutory
   authority to impose a comparative efficacy requirement. 5                        We are
   unpersuaded by either argument.
           A. FDA Authority
           We begin with the simpler matter. Petitioners argue that FDA “lacks
   authority . . . to impose a requirement that Triton demonstrate its flavored
   ENDS products are more effective at promoting smoking cessation than its
   tobacco flavored ENDS products.” Petitioners are blatantly wrong—the
   TCA authorizes FDA to consider comparative cessation evidence, if not
   expressly then impliedly.
           Beginning with the express authority. 21 U.S.C. § 387j is the relevant
   provision: subsection (b) sets out the requirements for a premarket tobacco
   application, and subsection (c) outlines the actions FDA may take with
   regards to the application.          Id. § 387j(b), (c).       Under subsection (b),
   applicants     are    required     to    include     in    their    applications      “full
   reports . . . concerning investigations which have been made to show the
   health risks of such tobacco product and whether such tobacco product presents
   less risk than other tobacco products.” Id. § 387j(b)(1)(A) (emphasis added).
   Under subsection (c), FDA is then required to consider “the information


           5
             Upon success on the first argument (that FDA acted arbitrarily and capriciously)
   but failure on the second (that FDA lacks statutory authority), Petitioners request that the
   court grant them an eighteen-month-long injunction against the agency so that they could
   conduct randomized controlled trials and longitudinal studies. FDA rejects this request as
   incongruent with the APA, arguing that remand is the only appropriate remedy. Because
   we deny the petitions for review, we need not address the propriety of the requested relief.




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   submitted to the Secretary as part of the application,” which necessarily
   includes the comparative efficacy reports that applicants must provide. Id.
   § 387j(c)(2).
          Petitioners ask us to ignore these provisions, arguing that the word
   “risk” in § 387j(b)(1)(A) “refers to physiological health risks, not some
   broader concept of risk that encompasses initiation and cessation behaviors.”
   This argument is unpersuasive.           Initiation and cessation behaviors are
   physiological health risks. In fact, as Petitioners themselves note, cessation
   is one of the reasons Congress enacted the TCA in the first place. TCA
   § 3(9), 123 Stat. at 1782; see also TCA § 2(34), 123 Stat. at 1779 (“Because
   the only known safe alternative to smoking is cessation, interventions should
   target all smokers to help them quit completely.”).
          Moreover, subsection (c) provides further express authority for FDA
   to consider comparative efficacy. The statute provides that to determine
   compliance with the APPH standard, FDA must consider “the increased or
   decreased likelihood that existing users of tobacco products will stop using
   such products.” 21 U.S.C. § 387j(c)(4)(A). The phrase “increased or
   decreased likelihood” necessarily implies a comparative analysis. Nothing
   can “increase” or “decrease” in a vacuum. 6 Petitioners surely understood
   as much because, as FDA points out, Petitioners actually included evidence
   of comparative cessation in their PMTAs.
          But even if Petitioners are right that FDA lacks the express authority
   to consider such evidence, FDA certainly has implied authority to do so. In
   addition to the provisions cited above, FDA may consider “any other


          6
             If someone smoked 10 cigarettes today, you could not say that she “increased”
   or “decreased” her smoking ritual without having evidence of her prior smoking habits—
   that is, evidence that would allow you to compare her smoking today to her smoking
   yesterday and before.




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   information before the Secretary with respect to [the] tobacco product,” 21
   U.S.C. § 387j(c)(2), may commission an investigation to determine whether
   a product meets the APPH standard, id. § 387j(c)(5)(A), and may consider
   other “valid scientific evidence,” id. § 387j(c)(5)(B). Therefore, FDA’s
   consideration of the lack of cessation as a risk and comparing that risk
   between new tobacco products and old tobacco products “fall[s] squarely
   within the ambit of the FDA’s expertise and merit[s] deference.” Cf.
   Schering Corp. v. FDA, 51 F.3d 390, 399 (3d Cir. 1995).
           B. Arbitrary and Capricious
           We now turn to the core issue upon which our motions panel relied to
   grant a stay. Petitioners argue that they relied on FDA’s statements that
   scientific studies were not necessary, but that FDA seemed to consider the
   lack of studies the only relevant factor in its decision, ignoring all the reasons
   it should have authorized their products. The motions panel largely agreed.
   It determined that FDA pulled a “surprise switcheroo” and either
   inadequately considered or failed to consider altogether several relevant
   aspects of Petitioners’ applications, including: “(1) Triton’s marketing plan;
   (2) Triton’s reliance interests; (3) less disruptive alternatives; (4) device-
   type preferences; and (5) evidence on the potential benefits of flavored e-
   cigarettes.” Wages & White Lion, 16 F.4th at 1136.
           Notably, after our court entered that decision, the Sixth Circuit
   denied a stay application of a similar MDO. Breeze Smoke, LLC v. FDA, 18
   F.4th 499, 506 (6th Cir. 2021) (“Considering all of Breeze Smoke’s
   evidence, we disagree with Breeze Smoke, and with our colleagues on the
   Fifth Circuit, who say that the FDA orchestrated a ‘surprise switcheroo.’”). 7


           7
             Other circuits have granted stays but provide little in the way of explanation that
   addresses the considerations herein. See Gripum LLC v. FDA, No. 21-2840 (7th Cir. Nov.
   4, 2021) (order granting stay pending review); Bidi Vapor LLC v. FDA, No. 21-13340 (11th




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   Examining largely the same factors our court pointed out, our sister court
   determined that FDA appropriately considered this evidence and reached a
   contrary conclusion. Id. at 506–08.
          Before diving into these specific issues, we should note that our job
   here is quite limited. We are not tasked with determining whether we agree
   with FDA’s decision (that is, whether we would have granted authorization
   if the PMTAs were submitted to us in the first instance). Instead, we review
   the MDOs for whether they were arbitrary and capricious. There are only
   narrow circumstances under which we would consider an agency action
   arbitrary and capricious:
          if the agency has relied on factors which Congress has not
          intended it to consider, entirely failed to consider an important
          aspect of the problem, offered an explanation for its decision
          that runs counter to the evidence before the agency, or is so
          implausible that it could not be ascribed to a difference in view
          or the product of agency expertise.

   Motor Vehicle Mfrs., 463 U.S. at 43.
          Moreover, where the parties disagree on the science, we owe the FDA
   deference. After all, Congress deemed only the FDA as the scientific expert
   here—not the federal courts. See TCA § 2(44), 123 Stat. at 1780 (“The Food
   and Drug Administration is a regulatory agency with the scientific expertise
   to . . . evaluate scientific studies supporting claims about the safety of
   products[] . . . .”). With those general caveats in place, we now address the
   relevant specifics.




   Cir. Feb. 1, 2022) (same); Johnny Copper, L.L.C. v. FDA, No. 21-13438 (11th Cir. Feb. 1,
   2022) (same); Vapor Unlimited LLC v. FDA, No. 21-13454 (11th Cir. Feb. 1, 2022) (same).




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           (1) Evidence on Potential Benefits
           Petitioners argue that FDA dismissed their evidence regarding
   benefits to adults because the evidence did not consist of the specific studies
   FDA recommended. We are unpersuaded by Petitioners. As FDA aptly
   summarized in its briefing before this court: “FDA denied petitioners’
   applications not because they failed to include a randomized controlled trial
   or longitudinal cohort study but because they failed to include any evidence
   robust enough to carry petitioners’ burden under the statute.” The key piece
   of evidence that Petitioners focus on in their briefing is a cross-sectional
   survey conducted by Vapetasia. Petitioners emphasize that according to this
   study, 82.99% of survey respondents indicated that e-cigarettes helped them
   quit smoking combustible tobacco. But that survey suffered from several
   methodological flaws: (1) only 294 people were surveyed; (2) the survey
   respondents are all Vapetasia customers; and (3) it’s not clear how these
   individuals were selected to take the survey. 8 In other words, there were
   strong reasons to doubt the survey’s results. The FDA therefore did not act
   arbitrarily in concluding that Vapetasia’s survey “is not sufficient to show a
   benefit to adult smokers.” 9



           8
               As the Sixth Circuit explained given a similar customer survey:
                    On this record, Breeze Smoke’s survey presents methodological
           issues. The FDA’s 2019 guidance suggested that applicants include
           studies “with robust rationale, acute toxicological endpoints or other
           clinical endpoints that may relate to long-term health impacts.” Breeze
           Smoke’s study, submitted via Google Form, contained responses from
           customers “solicited . . . by request in the retail stores.”
   Breeze Smoke, 18 F.4th at 506 (citations omitted).
           9
          The motions panel discussed a study cited by Triton (and conducted by the
   Consumer Advocates for Smoke-Free Alternatives Association) as key evidence that the
   FDA ought to have considered. The panel noted:




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           (2) Device-Type Preferences
           Petitioners argue that FDA failed to consider device-type preferences
   amongst youth. E-cigarettes can come in various forms: “closed systems,”
   which are e-cigarettes designed to have cartridges inserted into the device;
   “open systems,” which are e-cigarettes with built-in tanks that are filled by
   the user; and disposables, which are e-cigarettes where the entire device is
   thrown out when the e-liquid runs out (as opposed to just the empty cartridge
   being thrown out in a closed-system device). 10 In 2019, FDA witnessed the
   highest level ever recorded of youth e-cigarette use. See Enforcement
   Priorities for Electronic Nicotine Delivery Systems and Other Deemed
   Products on the Market Without Premarket Authorization, 85 Fed. Reg. 720,
   722 (Jan. 7, 2020) (“Data from the 2019 NYTS also show that 2019 was the




           Triton urged the FDA to consider a 2015 survey of 20,000 e-cigarette
           users showing that nearly a third of the respondents “started out using
           tobacco or menthol flavors” and then began using other flavored e-
           cigarettes. Similarly, Triton asserted that flavored e-cigarettes “could
           serve an important role in transitioning existing adult users away from
           more harmful, combustible cigarette products.” But in the Order, the
           FDA ignored the first point altogether and gave the second short shrift.
   Wages & White Lion, 16 F.4th at 1140 (citations omitted).
             Petitioners do not actively discuss this study in their briefing, only referring to it a
   couple of times in passing. Regardless, the Technical Project Lead reports explain that
   FDA “reviewed the application for any acceptably strong evidence.” It found none. At
   most, Petitioners fault FDA for not mentioning the study in the MDO (unlike how it handled
   the Vapetasia study). But unlike the Vapetasia study, Triton did not conduct or commission
   this survey, and in any event, FDA not mentioning the study is not the same as “entirely
   fail[ing] to consider an important aspect of the problem.” State Farm, 436 U.S. at 43.
           10
              The motions panel inadvertently confused closed-system devices with
   disposable devices. See Wages & White Lion, 16 F.4th at 1130. To clarify, the distinction is
   whether the device as a whole is thrown out (disposable) as opposed to a component part
   being thrown out (closed system).




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   second consecutive year in which current (past 30-day) e-cigarette use among
   youth reached unprecedented levels.”).
          FDA’s 2020 Guidance explained that, based on 2019 data, youth were
   particularly attracted to closed-system devices.      2020 Guidance at 19.
   (“[D]ata from the 2019 NYTS indicate that youth overwhelmingly prefer
   cartridge-based ENDS products. These products are easy to conceal, can be
   used discreetly, may have a high nicotine content, and are manufactured on
   a large scale.” (footnote omitted)). Given this data, FDA began to ramp up
   its enforcement efforts against closed-system devices.         Former FDA
   Commissioner Scott Gottlieb even made a speech after he no longer served
   as Commissioner in which Gottlieb called for a complete ban on closed-
   system devices and noted that open-system devices are not as popular with
   youth. Nicholas Florko, Former FDA Commissioner Calls for A Full Ban on
   Pod-Based       E-Cigarettes,       STAT           (Nov.      12,      2019),
   https://www.statnews.com/2019/11/12/gottlieb-ban-pod-based-e-cigarettes/.
          Petitioners rely heavily on the Gottlieb statement and FDA’s
   enforcement efforts against closed-system devices. They argue that FDA
   acted arbitrarily and capriciously because it failed to consider that their e-
   cigarettes are open-system devices. But in reality, Petitioners fault FDA for
   refusing to turn a blind eye to all the evidence that has emerged since 2019.
   Particularly, after FDA increased enforcement actions against closed-system
   devices, the youth-smoking epidemic did not end; instead, youth smokers
   migrated to other device types with flavored e-liquids: “[W]hen FDA
   changed its enforcement policy to prioritize pod-based flavored ENDS,
   which were most appealing to youth at the time, we subsequently observed a
   substantial rise in use of disposable flavored ENDS—a ten-fold increase
   (from 2.4% to 26.5%) among high school current e-cigarette users.” See




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   Triton TPL Report at 8; Vapetasia TPL Report at 8. 11 To the extent
   Petitioners rely on the Gottlieb statement and the 2020 Guidance, their
   reliance is misplaced. Both were based on data from 2019—that is, data from
   before the FDA’s subsequent enforcement actions and the observed youth
   migration. 12 As well, Gottlieb was no longer the FDA Commissioner, so his
   comments have no greater weight than anyone else’s thoughts. In contrast
   to the evidence on device-type preference, FDA concluded that “across
   these different device types, the role of flavor is consistent.” In other words,
   FDA did consider Petitioners’ device type, and it concluded (reasonably)
   that what truly impacts youth smokers is flavor preference, not device
   preference.
           (3) Reliance Interests
           Petitioners argue, and the motions panel concluded, that FDA
   “pulled a surprise switcheroo” in “requir[ing] the very studies it originally
   expected it didn’t need.” Wages & White Lion, 16 F.4th at 1138 (internal
   quotation marks, brackets, and citation omitted). But the FDA does not
   now—and has not ever—required studies of smoking cessation. Contrary to
   the motion panel’s determination that FDA made a “radical” change, id. at
   1138–39, FDA has always suggested and continues to suggest that such
   studies might be useful, in particular where, as here, the evidence presented
   in an application is otherwise weak. See Nicopure Labs, LLC v. FDA, 944 F.3d
   267, 282 (D.C. Cir. 2019) (“The FDA has expressed willingness to accept


           11
           The notion in the dissenting opinion that Petitioners only received the TPLs via
   FOIA was not an argument raised adequately by Petitioners in their briefing.
           12
             While Petitioners cite two studies that purport to include data from 2020 and
   2021, these studies do not show (or at least, Petitioners fail to explain how they show) what
   the percentage breakdown across devices is, what effect the FDA enforcement actions had
   on this usage, or how these statistics map on to statistics regarding flavor. The evidence
   provided on device-type preferences is, therefore, unpersuasive.




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   scientific literature reviews instead of commissioned studies in support of e-
   cigarette applications in appropriate circumstances.” (emphasis added)).
          One needs to look no further than the FDA’s own conditional
   language over the last several years to reach that conclusion. The record is
   replete.    See, e.g., Premarket Tobacco Product Applications and
   Recordkeeping Requirements (Final Rule), 86 Fed. Reg. 55,300, 55,387 (Oct.
   5, 2021) (“FDA does not expect that long-term clinical studies will need to
   be conducted for each PMTA; instead, it expects that it should be able to rely
   on other valid scientific evidence to evaluate some PMTAs.” (emphasis
   added)); Premarket Tobacco Product Applications and Recordkeeping
   Requirements (Proposed Rule), 84 Fed. Reg. 50,566, 50,619 (Sept. 25, 2019)
   (“FDA will determine . . . whether the available evidence, when taken as a
   whole, is adequate to support a determination that permitting the new tobacco
   product to be marketed would be APPH.” (emphasis added)); FDA,
   Premarket Tobacco Product Applications for Electronic Nicotine Delivery
   Systems      (ENDS):       Guidance        for    Industry     13     (2019),
   https://www.fda.gov/media/127853/download (“[I]nstead of conducting
   clinical studies that span months or years to evaluate potential clinical
   impact, applicants could demonstrate possible long-term health impact by
   including existing longer duration studies in the public literature with the
   appropriate bridging information . . . .” (emphasis added)); id. at 46
   (“[T]hese data may be sufficient to support a PMTA . . . .” (emphasis
   added)); 81 Fed. Reg. at 28,997 (“[I]n some cases, it may be possible for an
   applicant to obtain a PMTA marketing authorization order without
   conducting any new nonclinical or clinical studies where there is an
   established body of evidence regarding the public health impact of the
   product.” (emphasis added)).
          The evidence cited by the dissenting opinion to the contrary ignores
   the FDA’s continuous use of conditional language. For example, quoting the



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   TPLs, the dissenting opinion frames FDA as stating that longitudinal
   “studies are ‘most likely’ to provide reliable and robust evidence to satisfy
   the APPH standard.” But the dissenting opinion ignores the next line in the
   TPL: “other types of evidence could be adequate[] and will be evaluated on
   a case-by-case basis.”          Similarly, per the dissenting opinion, “FDA
   announced that it would authorize the flavored ENDS products only if the
   PMTAs included previously purely optional studies.” Dissenting Op. at 3–
   4. For this argument, the dissenting opinion relies on an FDA press release,
   while ignoring the line in that press release that says, “the agency does not
   foreclose the possibility that other types of evidence could be adequate if
   sufficiently robust and reliable.” See FDA, Press Release, FDA Denies
   Marketing Applications for About 55,000 Flavored E-Cigarette Products for
   Failing to Provide Evidence They Appropriately Protect Public Health (Aug.
   26, 2021), https://bit.ly/2YsYmzd.               Finally, the dissenting opinion’s
   reliance on a subsequently retracted internal FDA memo does not alter any
   of the conditional language that FDA continued to provide.
           Having reviewed this record, we agree with the Sixth Circuit’s con-
   clusion regarding the lack of any scientific study “requirement.” See Breeze
   Smoke, 18 F.4th at 506–07. Breeze Smoke was decided after Wages & White
   Lion, and following the Breeze Smoke decision, Petitioners presented an ap-
   plication for a stay (i.e., a stay of the FDA’s denial) to Justice Kavanaugh,
   who referred the application to the Court. See Breeze Smoke, LLC v. FDA,
   142 S. Ct. 638 (2021) (mem.). The application was denied, without any rec-
   orded dissent from the Supreme Court. Id. Having had the benefit of these
   subsequent developments as well as full briefing and oral argument, we take
   a different view from the stay panel. 13


           13
              It should go without saying, but the dissenting opinion wrongly implies that four
   judges of this court have “found” the merits lacking. Dissenting Op. at 1. Our precedent




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            The fact that Petitioners presented other scientific evidence does not
   make that scientific evidence valid, and it is entirely consistent with FDA’s
   prior statements to reject that evidence. Moreover, Petitioners’ attempts to
   distinguish Breeze Smoke are unavailing. Petitioners make two arguments:
   (1) “the Sixth Circuit’s motions panel considered only one excerpt from
   FDA’s 2019 Guidance, and not the representations made by FDA at the two
   public meetings with applicants or the Final PMTA Rule”; and (2) “Breeze
   Smoke . . . dealt exclusively with disposable ENDS products, not bottled e-
   liquids.” As to the first argument, as noted above, all the representations
   made by the FDA consistently said that other evidence might be accepted. As
   to the second argument, the device-type distinction is unpersuasive for the
   reasons set out earlier, and that distinction has no impact on the FDA’s prior
   statements regarding scientific studies. Therefore, we (like our sister court)
   conclude that FDA has not pulled an impermissible “surprise switcheroo.”
   See Breeze Smoke, 18 F.4th at 506–07. 14
           (4) Marketing Plan
           Finally, Petitioners argue that FDA did not appropriately consider
   their marketing scheme. Instead, FDA stated that “for the sake of efficiency,
   the evaluation of the marketing plans in applications will not occur at this
   stage of review, and we have not evaluated any marketing plans submitted


   makes clear that a stay panel’s determination regarding the likelihood of success on the
   merits is not itself a determination on the merits. That determination is for this panel to
   make alone.
           14
              For these same reasons, we disagree with the dissenting opinion’s attempt to
   distinguish Breeze Smoke and specifically disagree with the dissenting opinion’s accusation
   that the Sixth Circuit “fail[ed] to acknowledge the abundant administrative record
   concerning FDA’s public engagement with ENDS product suppliers, FDA’s Sept. 2019
   proposed rule, and the Final Rule, all of which are inconsistent with its perfunctory denial
   orders.” Dissenting Op. at 5 n.4. The Sixth Circuit considered each extensively. See
   Breeze Smoke, 18 F.4th at 505–08.




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   with these applications.” The motions panel rebuked this statement, noting
   that “‘efficiency’ is no substitute for ‘reasoned decisionmaking.’” Wages &
   White Lion, 16 F.4th at 1137 (quoting Michigan v. EPA, 576 U.S. 743, 750
   (2015)). After careful consideration, we have determined that the FDA did
   not act arbitrarily and capriciously in not reviewing the marketing plans, and
   if they did, such error was harmless.
           As an initial matter, FDA did not consider the marketing plan because
   although “[i]t is theoretically possible that significant mitigation efforts could
   adequately reduce youth access and appeal,” FDA had not once evaluated a
   marketing plan that actually did so. This was not a novel observation on the
   FDA’s part. In fact, part of the reason Congress passed the TCA is because
   marketing restrictions simply were not working: “Because past efforts to
   restrict advertising and marketing of tobacco products have failed adequately
   to curb tobacco use by adolescents, comprehensive restrictions on the sale,
   promotion, and distribution of such products are needed.” TCA § 2(6), 123
   Stat. at 1777.
           Moreover, Petitioners should have known that marketing plans on
   their own are not particularly useful. 15 FDA explained as much in its 2020
   Guidance, in which it noted that youth usage continued to rise despite FDA’s
   2018 efforts to curb predatory marketing, such as its issuance of “warning
   letters to manufacturers, distributors, and retailers for selling e-liquids with
   labeling and/or advertising that resemble kid-friendly food products, such as
   juice boxes, candy, or cookies.” 2020 Guidance at 6–9. This finding by FDA


           15
              To be clear, in saying this we do not “blame” Petitioners for not knowing that
   their marketing plans would not be useful. See Dissenting Op. at 8. Instead, the record
   shows that it would have been unreasonable for Petitioners to believe that marketing plans
   in and of themselves would suffice for FDA to grant their PMTAs. An unreasonable belief
   on the part of an applicant is not the same as arbitrary and capricious action on the part of
   an agency.




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   directly refutes the dissenting opinion’s claim that, until the MDOs, “[e]very
   single statement by the agency . . . reasonably led petitioners to believe that
   if they devised marketing arrangements that would prevent underage persons
   from purchasing their flavored e-liquids . . . they would have surmounted a
   significant requirement for marketing approval.” Dissenting Op. at 8. The
   record not only undermines this statement, it contravenes it entirely—FDA
   stating that marketing plans would “help FDA determine” whether the new
   tobacco product meets the APPH standard is not the same as FDA stating
   that if marketing plans exist then market authorization was a step away. 16


           16
              The dissenting opinion does not address the substance of FDA’s finding that
   youth usage continued despite FDA’s 2018 efforts to curb predatory marketing, focusing
   instead on the source in which FDA issued that finding: the 2020 Guidance. Dissenting Op.
   at 7-8. Instead, it provides four reasons the 2020 Guidance should not be considered. We
   address each in turn.
            First, the dissenting opinion takes issue with the 2020 Guidance not “amending”
   the earlier Guidance. But both the 2020 Guidance and the earlier 2019 Guidance (which
   the dissenting opinion calls the “definitive” and “final” guidance) contained nonbinding
   recommendations. Lest anyone get confused, each document had a header that said, in bold
   print, “Contains Nonbinding Recommendations.” Nothing in the record suggests that it
   is necessary or even common for FDA to amend a document no one was ever bound by.
            Second, the dissenting opinion notes that “there is no evidence at all that these
   petitioners marketed or sold to youth.” Dissenting Op. at 7. But there is no statutory
   requirement that for FDA to deny authorization, it must (or even should) have evidence
   that a particular applicant marketed or sold to youth.
           Third, the dissenting opinion states that the 2020 Guidance is not referenced in
   the MDOs. This statement is technically true, but misleading. After all, the MDOs also
   didn’t mention the 2019 Guidance. Nor is that the purpose of an MDO. An MDO is
   merely a short letter stating FDA’s conclusion. Its reasoning is described more fully in the
   TPLs, which, of course, discuss the 2020 Guidance at length.
           Fourth, the dissent’s final concern—“the high level of youth vaping that spawned
   the 2020 Guidance had been underway since 2018, yet FDA did not adjust its PMTA
   Guidance materials significantly during this period”—asks FDA to do the impossible and
   analyze something that did not yet exist. Although vaping was a large issue amongst youth
   in 2018, the primary study FDA relied on for that data was not released until November
   2018. FDA then quickly implemented new enforcement priorities. It then studied the




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           Instead, based on its expertise, FDA determined that traditional
   marketing schemes do not work and that absent a “novel or materially
   different” scheme, youth appeal would continue. Of course, one could argue
   that without having actually reviewed the marketing plans, FDA could not
   have known that Petitioners’ plans would not have been unique. But at oral
   argument, FDA clarified that what it did review included a summary of the
   marketing plans. 17 We, therefore, do not believe that the agency acted
   arbitrarily and capriciously—Petitioners’ plans were not unique; FDA did
   not need to go any further.
           Quoting the stay panel, the dissenting opinion objects to this line of
   reasoning, analogizing FDA’s actions to a judge that “stopped reading briefs
   because she previously found them unhelpful” and arguing that FDA only
   did so because it was inundated with a backlog of PMTAs. Dissenting Op. at
   7. With this framing in mind, it’s no wonder that the dissenting opinion calls
   the FDA’s conduct “obviously illogical and unreasonable.” Dissenting Op.
   at 7. But that framing does not appropriately capture what happened here.
           We offer a different analogy. Consider a district court, inundated with
   a backlog of motions. Of course the court will not consider a summary
   judgment motion on the merits if it concludes that it must grant a motion to
   dismiss for lack of jurisdiction because it doesn’t matter how good of a merits
   argument a plaintiff has, such an argument cannot cure a jurisdictional defect.



   effect of its new enforcement priorities in 2019 and developed updated guidance based on
   that data in 2020. Asking FDA to have provided data earlier would be asking FDA to
   release guidance with potentially no actual data. That would be an arbitrary and capricious
   agency action.
           17
             Parties clarify factual matters before appellate courts all the time—it’s one of the
   benefits of oral argument. Clarifying what happened factually is not, by any stretch of the
   imagination, “judicial post hoc reasoning about a post hoc justification.” See Dissenting
   Op. at 8.




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   We recognize that, for efficiency, a district court need not review every single
   motion before it when a motion will have no effect on the outcome of the
   litigation, and we understand that not addressing every issue is not the same
   as a failure of reasoned decision making.
          We cannot hold a federal agency, operated by a co-equal branch of
   government, to a higher standard than we hold the federal courts. FDA, per
   its expertise, understood that whatever the specific details of Petitioners’
   marketing plans were, those details could not cure the other defects in
   Petitioners PMTAs. It did not need to assess the details of the marketing
   plan, and its failure to do so is not a failure of reasoned decision making.
          In any event, nothing in Petitioners’ briefing to this court indicates
   that their marketing plan was in fact unique.           Instead, “Triton and
   Vapetasia’s PMTA marketing plans called for their products to be only sold
   in age-gated vape and specialty tobacco shops and through age-gated online
   sales.” But FDA had already explained that such attempts do not work:
          FDA has been focusing enforcement efforts on age verification
          as a strategy to address youth use of tobacco products, and
          FDA continues to enforce age restrictions. However, FDA
          believes that age verification alone is not sufficient to address
          this issue, given the most recent data that youth use of ENDS
          products continues to increase. FDA determined that focusing
          on how the product was sold would not be sufficient to address
          youth use of these products given the many sources of products
          available for youth access. The reality is that youth have
          continued access to ENDS products in the face of legal
          prohibitions and even after voluntary actions by some
          manufacturers.

   2020 Guidance at 44.
          The burden falls on Petitioners to show that they would have received
   authorization had FDA considered these plans. See, e.g., Shinseki v. Sanders,




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   556 U.S. 396, 409 (2009); Am. Airlines, Inc. v. Dep’t of Transp., 202 F.3d 788,
   797 (5th Cir. 2000).       They have not done so.         Given that the TCA
   incorporates the APA’s harmless error rule—see 21 U.S.C. § 387l(b); 5
   U.S.C. § 706—Petitioners’ failure to show harm necessitates the denial of
   relief.
                             *             *             *
             Congress passed the TCA in an active effort to protect public health.
   In serving that purpose, we cannot say that FDA acted arbitrarily and
   capriciously by disagreeing with Petitioners as to the significance of the
   evidence they presented. Of course, nothing prevents Petitioners from
   reapplying with further evidence (and then seeking judicial review after
   further agency action). But as to the present state, we conclude that the
   petitions are DENIED.




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   Edith H. Jones, Circuit Judge, dissenting:
           Six judges of this court have reviewed the FDA’s “reasons” for
   removing from the market and destroying the business for these petitioners’
   electronic nicotine delivery system (“ENDS”) products. Four of us have
   found the agency’s decisions seriously inadequate, but at least the debate
   with my colleagues is founded on known standards. Not so FDA’s actions.
   In a mockery of “reasoned” administrative decision-making, FDA
   (1) changed the rules for private entities in the middle of their marketing
   application process, (2) failed to notify the public of the changes in time for
   compliance, and then (3) rubber-stamped the denial of their marketing
   applications because of the hitherto unknown requirements. See DHS v.
   Regents of the Univ. of Cal., 140 S. Ct. 1891, 1909 (2020). Kafka would have
   understood the FDA all too well. The agency’s decisions are arbitrary and
   capricious. I dissent.
                                   I. Background
           Petitioners’ flavored nicotine-flavored liquids are among a host of
   “tobacco products” (although they contain no tobacco) that have fallen
   within the regulatory purview of the FDA since 2016. See 81 Fed. Reg. 28974
   (May 10, 2016) (“the deeming rule”). 1 To continue selling their flavored
   liquids, Petitioners had to submit a premarket tobacco product application
   (“PMTA”) to the FDA by September 9, 2020. See 21 U.S.C. § 387j; Vapor
   Tech. Ass’n v. FDA, 97 F.3d 496, 498-501 (6th Cir. 2020). If the FDA issues
   a marketing denial order (“MDO”) in response to a PMTA, sales of the
   products become unlawful. Given that ENDS product companies’ very


           1
            Petitioners’ products are used in “open system” e-cigarettes, which are distinct
   from “closed system” cartridge-type and disposable e-cigarettes. According to FDA’s
   studies, disposable or cartridge-based products are overwhelmingly more attractive to
   youthful users because they are discreet, easy to operate and conceal.




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   existence depended on securing marketing approval, petitioners had
   significant incentives to get the applications right. Recognizing this, the FDA
   put an extensive amount of information out to the public about what was
   relevant to a successful application, and what was not.
          Toward that end, in October 2018 the FDA held a two-day public
   meeting to “improve public understanding . . . on the process for the
   submission and review of [PMTAs].” Tobacco Product Application Review
   – A Public Meeting (October 22, 2018), https://bit.ly/3FhPxJi. In relaying
   the types of studies that could support a PMTA, an FDA representative
   stated: “No specific studies are required for a PMTA; it may be possible to
   support a marketing order for an ENDS product without conducting new
   nonclinical or clinical studies given other data sources can support the
   PMTA.” Premarket Tobacco Product Application Content Overview: Iilun
   Murphy – OS/Division of Individual Health Science (October 23, 2018)
   (emphasis added).
          In June 2019, the FDA issued final guidance on PMTAs for ENDS
   products, the purpose of which was to “assist persons submitting [PMTAs]
   for [ENDS]” products and to “enable ENDS manufacturers to consider and
   strengthen their applications.” FDA, Guidance for Industry, Premarket
   Tobacco Applications for Electronic Nicotine Delivery Systems (June 2019);
   Triton-FDA2-004408, 004411. The FDA’s guidance made four salient
   points. First, “in general, FDA does not expect that applicants will need to
   conduct long-term studies to support an application.” Triton FDA2-004423
   (emphasis added). Second, although randomized clinical studies “could
   address cessation behavior of users of tobacco products, FDA believes this
   would also be true for observational studies (perception, actual use, or both)
   examining cessation behaviors.” Triton-FDA2-004448 (emphasis added).
   Third, FDA intended to review each PMTA and weigh all the benefits and




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   risks from the product. Fourth, FDA would specifically pay attention to
   marketing restrictions that could restrict distribution to underage users.
          In September 2019, FDA’s proposed rule governing PMTAs
   reinforced all of these points. In particular, the agency stated once again that
   long-term studies were not expected. In addition, the FDA re-emphasized
   that marketing plans were critical:
          “[t]he applicant’s marketing plans will help FDA determine
          whether permitting the marketing of the new tobacco product
          would be [appropriate for the protection of the public health]
          because they will provide input that is critical to FDA’s
          determination of the likelihood of changes in tobacco product
          use behavior, especially when considered in conjunction with
          other information contained in the application. FDA will review
          the marketing plan to evaluate potential youth access to, and
          youth exposure to the labeling, advertising, marketing, or
          promotion of, a new tobacco product.”
   84 Fed. Reg. 50566, 50581 (Sept. 25, 2019) (emphasis added).
          Petitioners assumed that these guidelines governed their applications,
   and accordingly prepared applications that emphasized their restrictive
   marketing but did not include long-term studies on smoking cessation
   behavior. The PMTAs were timely filed on September 9, 2020.
          1. The New Rules.
          Ten months later, when FDA was inundated by literally millions of
   PMTAs, the agency circulated an internal memorandum providing a new
   “standard of evidence” for some PMTAs for flavored ENDS products. See
   Triton-FDA2-005144-005155 (July 9, 2021). This memo was not publicly
   released, though its intent was to facilitate “final action on as many
   applications as possible by September 10, 2021.” See Triton-FDA2-005144.
   Given the “large number of applications that remain[ed] to be reviewed by
   September 9, 2021,” the memo explained that in lieu of reviewing
   applications on an individualized basis, the FDA would “conduct a Fatal




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   Flaw review . . . a simple review in which the reviewer examines the
   submission to identify whether or not it contains the necessary type of
   studies[].” Triton-FDA2-005145 (emphasis added). The “fatal flaw” would
   be the absence of studies—that is to say, long-term studies that the agency
   previously stated were neither necessary nor expected.         Triton-FDA2-
   005144 - 45. Put bluntly, the memo ensured that even if an applicant followed
   FDA’s pre-deadline public statements and proposed rule, the FDA would
   nonetheless deny a PMTA because it failed to satisfy the internal non-public
   requirement for “the necessary type of studies” crafted in July 2021. FDA
   asserts that the Fatal Flaw memo was rescinded, but its approach appears to
   have been followed in a check-box “scientific review” form that indicated
   only whether a PMTA included a randomized controlled trial or longitudinal
   cohort study. Triton FDA1-000247-000260.
          Similarly, FDA changed its mind about reviewing marketing plans and
   decided not to do so “for the sake of efficiency.” Significant sections of that
   internal memo, though also claimed by FDA to be rescinded, 2 are copied
   word-for-word in the TPLs for petitioners’ products.
          2. The Late Notice.
          The FDA revealed its new modus operandi concerning long-term
   studies on August 26, 2021 in a press release when it denied 55,000 ENDS
   products PMTAs in one day. Thus, nearly a year after the PMTA deadline,
   FDA announced that it would authorize the flavored ENDS products only if
   the PMTAs included previously purely optional studies, i.e., long-term
   studies showing that the applicant’s flavored ENDS products effectively
   promoted cessation from cigarette smoking in a manner that outweighs the
   potential risk to youth.     FDA, Press Release, FDA Denies Marketing


          2
           PMTA Review: Evidence to Demonstrate Benefit of Flavored ENDS to Adult
   Smokers. FDA, Aug. 25, 2021.




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   Applications for About 55,000 Flavored E-Cigarette Products for Failing to
   Provide Evidence They Appropriately Protect Public Health (Aug. 26,
   2021), https://bit.ly/2YsYmzd.
           Petitioners’ PMTAs were not among the first batch of denials. Id. In
   an attempt to adjust to the new requirement, petitioners submitted a letter to
   the FDA on September 1, 2021, stating that they intended to conduct
   additional behavioral studies on adult smoking cessation and long-term
   studies of their products to supplement their PMTAs.
           3. Rubber-stamped denials.
           Their prompt reaction was in vain. On September 14, FDA issued
   MDOs denying them the right to sell their flavored liquids in the United
   States. The MDOs refused to consider, much less evaluate the petitioners’
   marketing plans “for the sake of efficiency.” 3 TRITON-FDA 1–000279.
   Petitioners were denied any attempt to comply with the new rule, FDA
   informed them, because the September 1, 2021 letter was “received near the
   completion of scientific review.”             Triton-FDA1-000123.           The MDOs
   perfunctorily concluded that their evidence failed to demonstrate “robustly”
   and “reliably” the magnitude of their flavored products’ potential benefit to
   adult smokers. Such evidence, however, “could have been provided using a
   randomized controlled trial and/or longitudinal study that demonstrated the
   benefit of your flavored ends products over an appropriate tobacco-flavored
   ends.” Triton-FDA1-000124.



           3
             This MDO also states that “none of the ENDS PMTAs that FDA has evaluated
   have proposed advertising and promotion restrictions that would decrease appeal to youth
   to a degree significant enough to address and counter-balance the substantial concerns, and
   supporting evidence, discussed above regarding youth use.” Because FDA had not seen a
   successful marketing plan on past applications, it generalized, all future applications must
   lack worthwhile marketing plans. So much for individualized consideration of marketing
   plans.




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          The TPLs furnished to petitioners as alleged backup for the MDOs is
   more egregiously out of step with all of FDA’s pre-deadline policies, as it
   states that, “[b]ased on existing scientific evidence and our experiences in
   conducting premarket review employing the APPH standard over the last
   several years, FDA has determined….most likely product specific evidence
   from a randomized controlled trial (RCT) or longitudinal controlled study”
   will be adequate. Triton-FDA1-000271. Later, the TPL recounts, contrary
   to the agency’s previous representations, that the types of studies it earlier
   promoted must also be conducted “over time.”
          4. The Post Mortem Rule
          FDA published its final PMTA Rule on October 4, 2021, a rule
   consistent with its prior pre-August 2021 policies but inconsistent with the
   process described in petitioners’ MDOs. FDA, Premarket Tobacco Product
   Applications and Recordkeeping Requirements, Final Rule, 86 Fed. Reg.
   55300. The Final Rule, yet again, states that the FDA does “not expect that
   applicants will need to conduct long-term clinical studies to support an
   application.”   86 Fed. Reg. 55300, 55387.        Contrary to the fatal flaw
   approach, the final rule states that the “FDA declines to create a series of
   criteria that either all products or a specific subset of products must meet in
   order for marketing of such products to be considered as part of this rule.”
   Id. at 55386. Instead, FDA assured that it would “consider[] many factors,”
   id. at 55314, would not rely on “one static set of requirements” id. at 55385,
   does not assign weight to different types of evidence, id. at 55335, and
   carefully “balances” risks and benefits, id. at 55384.
          Concerning marketing plans, the FDA’s Final Rule repeatedly
   contradicts the MDOs’ flat refusal to consider them, as it explains that
   “FDA has rationally concluded that the required descriptions of marketing
   plans will directly inform its assessment of who may be exposed to the




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   [marketing processes] and, as a result, its consideration of the potential
   impact on youth initiation and use. Id. at 55324. 4
                                    II. Discussion
           As noted, the majority and I agree that according to the
   Administrative Procedure Act, we must decide whether the FDA’s decisions
   are “arbitrary and capricious…or not in accordance with law.” 5 U.S.C.
   § 706(2)(A). The Supreme Court has succinctly explained that “[t]he
   APA’s arbitrary and capricious standard requires that agency action be
   reasonable and reasonably explained.” FCC v. Prometheus Radio Project,
   141 S. Ct. 1150, 1158 (2021); see also Motor Vehicle Mfs. Ass’n of U.S., Inc. v.
   State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 50, 103 S. Ct. 2856, 2870 (1983).
   We know our rules; I disagree that FDA followed those rules.
           Although courts may not substitute our policy view for that of the
   agency, we must ensure the agency turns square corners 5 in dealing with the
   public to whom it is subservient. Consequently, agency action may not be
   justified to a court based on post hoc rationalization; the agency must “defend



           4
            Several other courts have ruled on motions to stay FDAs MDOs concerning other
   ENDS products. Two courts granted stays, like the motions panel here, and one denied a
   stay. See Gripum LLC v. FDA, No. 21-2840, ECF No. 18 (7th Cir. Nov. 4, 2021); Bidi
   Vapor LLC v. FDA, et al., No. 21-13340, Per Curiam Order (11th Cir. Feb 1, 2022); Breeze
   Smoke, LLC v. United States Food & Drug Admin., 18 F.4th 499 (6th Cir. 2021) (denying
   motion to stay similar MDOs). In particular, I would distinguish the Sixth Circuit’s ruling,
   touted by the panel, because it fails to acknowledge the abundant administrative record
   concerning FDA’s public engagement with ENDS product suppliers, FDA’s Sept. 2019
   proposed rule, and the Final Rule, all of which are inconsistent with its perfunctory denial
   orders.
           5
             Square corners is a turn of phrase used by Justice Robert Jackson. See Fed. Crop
   Ins. Corp. v. Merrill, 332 U.S. 380, 387–88, 68 S. Ct. 1, 5 (1947) (J. Jackson dissenting)
   (observing that regulatory law is a two-way street and that agencies when dealing with the
   regulated, just as much as citizens subject to their regulations, must turn square corners).




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   its actions based on the reasons it gave when it acted.” DHS v. Regents of the
   Univ. of Cal., 140 S. Ct. 1891, 1909 (2020). Nor may an agency wholly fail to
   consider “relevant factors” and “important aspect[s] of the problem.”
   Michigan v. EPA, 576 U.S. 743, 752, 135 S. Ct. 2699, 2707 (2015). Nor may
   an agency thwart legitimate reliance interests by pulling a “surprise
   switcheroo” by changing its requirements too late for the petitioners to
   respond. See Env’t Integrity Project v. EPA, 425 F.3d 992, 996 (D.C. Cir.
   2005) (Sentelle, J.); accord Azar v. Allina Health Servs., 139 S. Ct. 1804, 1810
   (2019) (citing the “surprise switcheroo” doctrine).
          The majority’s analysis of these MDOs looks almost exclusively at the
   bottom-line result of FDA’s decisions and finds nothing to criticize. But the
   facts recited above speak for themselves. FDA refused to review petitioners’
   marketing restrictions, which it had repeatedly stated were key to
   discouraging youthful use of the products and were thus critical components
   of the PMTAs. FDA repeatedly counselled applicants that long term studies
   were likely unnecessary and it said nothing about comparative efficacy
   studies—until the PMTA deadline was long gone; and then it refused
   petitioners the opportunity to conduct such studies. Finally, FDA’s defense
   against petitioners on the merits of their applications is loaded with post hoc
   rationalizations. Any of these errors is a “fatal flaw.” Taken together, they
   are mortal wounds.
          The MDOs should be vacated, and the case remanded to FDA with
   instructions to allow these petitioners to develop and offer further evidence
   in support of the PMTAs.
          A. Marketing Plans
          The majority holds that the FDA’s decision to ignore and not review
   the petitioners’ plans was not arbitrary and capricious. To do this, the
   majority must themselves ignore the MDOs’ only stated reason for ignoring




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   the plans: “for the sake of efficiency.” The majority does not deny that
   “‘efficiency’ is no substitute for ‘reasoned decisionmaking.’” Wages &
   White Lion Invs., L.L.C. v. FDA, 16 F.4th 1130, 1137 (5th Cir. 2021) (quoting
   Michigan v. EPA, 576 U.S. 743, 750, 135 S. Ct. at 2706). Instead, the majority
   relies on FDA’s post hoc justifications for ignoring the marketing plans.
            First, the majority accepts FDA’s assertion that it had not in the past
   evaluated a marketing plan that discouraged youth from using ENDS
   products.     This is not a “reason” for refusing to even look at these
   petitioners’ MDOs. As the stay panel noted, this excuse is akin to a judge’s
   saying, “she stopped reading briefs because she previously found them
   unhelpful.” Wages & White Lion, 16 F.4th at 1137. It is obviously illogical and
   unreasonable to infer from the general to the particular, especially when FDA
   acknowledged its duty to consider each PMTA individually and holistically.
   Nor is the mere invocation of agency “expertise” a non-arbitrary substitute
   for an explanation how such expertise was brought to bear on the particular
   PMTA. “The requirement of explanation presumes the expertise and
   experience of the agency and still demands an adequate explanation in the
   particular matter.” CS Wind Viet. Co., Ltd. v. United States, 832 F.3d 1367,
   1377 (Fed. Cir. 2016)(citations omitted).           The agency’s failure to
   meaningfully consider an aspect of the petitioners’ PMTAs that it had
   previously deemed essential is quintessentially arbitrary and capricious.
   Univ. of Texas M.D. Anderson Cancer Ctr. v HHS, 985 F.3d 472, 475 (5th Cir.
   2021).
            Second, the majority makes much of an FDA 2020 Guidance that
   decried increasing adolescent use of tobacco products starting in 2018 even
   after the agency cracked down on vape companies that marketed and sold
   ENDS products in packaging that looked like juice boxes and candy cartons.
   The 2020 Guidance, however, has nothing to do with this case because (a) it




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   discussed enforcement priorities, and it did not purport in any way to amend
   the definitive PMTA Guidance documents that emphasized the importance
   of marketing plans; (b) there is no evidence at all that these petitioners
   marketed or sold to youth directly or indirectly, knowingly or objectionably;
   (c) the 2020 Guidance was not referenced at all in the MDOs and is therefore
   an inadmissible post hoc explanation; and (d) the high level of youth vaping
   that spawned the 2020 Guidance had been underway since 2018, yet FDA
   did not adjust its PMTA Guidance materials significantly during this period. 6
   Moreover, recourse to the 2020 Guidance as a basis for FDA’s having
   disregarded the marketing plans is flatly contradicted by the Final PMTA
   Rule, which continued to stress the importance of such plans as a “critical
   factor” in FDA’s approval decisions.
           Third, the majority admits that since FDA never reviewed the
   marketing plans, “one could argue” it had no basis to find them neither
   “novel or materially different” from others. But wait—the majority relies
   on FDA’s statement—in oral argument to this court—that its review actually
   included a summary of the marketing plan. This is judicial post hoc reasoning
   about a post hoc justification.
           Fourth, and most objectionably, the majority blames petitioners for not
   knowing that “marketing plans on their own are not particularly useful.”



           6
              The 2020 Guidance also focuses almost exclusively on the continuing
   attractiveness to youth of closed-system ENDS products, and very little if at all on bottled
   e-liquids for use in open systems. These petitioners produce bottled e-liquids. To the
   extent FDA means to say that youth will migrate to any flavored ENDS products if other
   avenues are closed off, it provided no evidence of that migration toward petitioners’
   products during the periods in question. In fact, the 2020 Guidance stated that it “should
   have minimal impact on those vape shops that primarily sell non-cartridge ENDS products
   and ensure that purchasers are of the requisite age and are not purchasing for resale[.]”
   Triton FDA-2-000321-000322.




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   That statement stands the requirement of reasoned agency decisionmaking on
   its head. Every single statement by the agency, until it issued its MDOs to
   these petitioners, reasonably led petitioners to believe that if they devised
   marketing arrangements that would prevent underage persons from
   purchasing their flavored e-liquids for open systems, they would have
   surmounted a significant requirement for marketing approval.
          Finally, to assert that the agency’s deliberate lapse amounted to
   “harmless error” is simply incorrect. Prejudice in the administrative law
   context does not involve a “complex system of ‘burden shifting’ rules or a
   particularly onerous requirement.” Shinseki v. Sanders, 556 U.S. 396, 410,
   129 S. Ct. 1696, 1706 (2009). An “APA deficiency is not prejudicial only
   when it is one that clearly had no bearing on the procedure used or the
   substance of decision reached.” United States v. Johnson, 632 F.3d 912, 930
   (5th Cir. 2011). Taken in conjunction with the agency’s violation of other
   administrative norms through its failures of notice and ignoring petitioners’
   reliance interests, the majority has no basis for claiming harmless error.
          For all these reasons, the agency cannot run away from individually
   reviewing petitioners’ marketing plans when, for two years, it assured the
   public that properly tailored marketing of flavored ENDS products could
   protect youth from exposure and abuse while the products also helped those
   who need to stop smoking. It is the epitome of agency hubris to pull the rug
   out from entities whose very existence depends on the agency’s careful
   balancing of all factors relevant to this public health issue.
          B. Notice and Reliance Interests
          The majority puts down petitioners’ claimed “reliance interests” and
   denies that FDA pulled a “surprise switcheroo” by rejecting their PMTAs
   for lack of “randomized controlled trials” or “longitudinal cohort studies”
   showing the benefits of their products in enabling smoking cessation. The




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   majority reads FDA’s pronouncements to have consistently conditioned its
   criteria for APPH studies or evidence and never to have required comparative
   efficacy studies of smoking cessation.
           This is surprising, because petitioners were only advised in the TPLs
   underlying their MDOs 7—when it was too late—that such studies are “most
   likely” to provide reliable and robust evidence to satisfy the APPH standard. 8
   And only then were they advised that studies “over time” should have been
   included. From October 2018 through the September 2020 PMTA deadline,
   and until August 2021, the FDA continually repeated that such studies were
   neither necessary nor expected. 9 Instead, FDA stated that other forms of
   evidence, including observational and consumer-perception studies, as well
   as scientific literature reviews, could be acceptable. In August 2021, contrary
   to those pronouncements, FDA announced that it had denied 55,000
   PMTAs precisely because they lacked “the evidence of benefits to adult
   smokers for such products [that] would likely be in the form of a randomized
   controlled trial or longitudinal cohort study….”
           If this meandering administrative course is not an “administrative
   switcheroo,” it is hard to know what is. For one thing, from FDA’s denials



           7
           Petitioners did not receive TPLs automatically; they obtained them only through
   FOIA requests.
           8
             Whether a product is “appropriate for the protection of the public health” is
   “determined with respect to the risks and benefits to the population as a whole, including
   users and nonusers of the tobacco product” and takes into account the likelihood that
   existing users of tobacco products will stop using such products; and the likelihood that
   those who do not use tobacco products will start using such products.
   21 U.S.C. § 387j(c)(4).
           9
           As has been explained, FDA also steadfastly represented the critical importance
   of marketing plans that would prevent underage youth from obtaining petitioners’
   products—until it backtracked on that requirement in the TPLs.




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   of 55,000 PMTAs one might reasonably infer that other manufacturers
   besides these petitioners were fooled by FDA’s previous instructions. And
   that legitimate reliance interests were built into the previous FDA
   announcements is attested by an affidavit of petitioners’ executive in charge
   of filing their PMTAs. Moreover, petitioners’ business was generating $15
   to 20 million annual revenues. Petitioners invested a half million dollars to
   complete their PMTAs and filed 9 gigabytes of information, including
   hundreds of files, with FDA in seeking marketing approval. They had every
   reason to file PMTAs most conscientiously and comprehensively because the
   existence of the company depended on agency approval of their products.
           In light of all the circumstances, there are two ways to look at the
   MDOs in this case. Under one scenario, FDA changed its policies: from
   individualized consideration of PMTAs and flexibility as to the type of
   scientific evidence it would hold acceptable, 10 to perfunctory disapproval of
   PMTAs lacking longitudinal studies. 11 The majority nowhere acknowledges
   that during the entire pre-deadline process, FDA kept stating that it did not
   “expect” long-term studies to be necessary.
           Viewed as a policy change, FDA acted arbitrarily and capriciously by
   failing to inform petitioners and by failing to consider their legitimate reliance
   interests. After all, “[t]hose regulated by an administrative agency are
   entitled to know the rules by which the game will be played.” Alaska Prof’l


           10
              See Nicopure Labs, LLC v. FDA, 944 F.3d 267, 282 (D.C. Cir. 2019)(“[t]he FDA
   has expressed willingness to accept scientific literature reviews instead of commissioned
   studies in support of e-cigarette applications in appropriate circumstances”).
           11
             The Triton MDO indicates that to be acceptable, the petitioner’s “other
   evidence” had to “evaluat[e] the impact of the new flavored vs. tobacco-flavored products
   on adult smokers’ switching or cigarette reduction over time.” (emphasis added). Triton-
   FDA1-000115. This looks like a requirement of a commissioned, longitudinal study of
   some kind.




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   Hunters Ass’n. v. FAA, 177 F.3d 1030, 1035 (D.C. Cir. 1999) (abrogated on
   other grounds by Perez v. Mortg. Bankers Ass'n, 575 U.S. 92, 135 S. Ct. 1199
   (2015)).   Agencies must provide fair warning of conduct the agency
   “prohibits or requires” and cannot “unfair[ly] surprise” a party by
   penalizing it for “good-faith reliance” on the agency’s prior positions.
   Christopher v. SmithKline Beecham Corp., 567 U.S. 142, 156-57, 132 S. Ct.
   2156, 2167-68 (2012). The fair notice requirement applies as much to
   agencies’ other public pronouncements as to its regulations. See Gen. Elec.
   Co. v. EPA, 53 F.3d 1324, 1329 (D.C. Cir. 1995) (“in many cases the agency's
   pre-enforcement efforts to bring about compliance will provide adequate
   notice,” such as notifying regulated entities of process requirements).
   Serious reliance interests, moreover, must be taken into account when an
   agency changes longstanding policies. See DHS v. Regents of the Univ. of Cal.,
   140 S. Ct. 1891, 1913 (2020). FDA’s disregard for the principles of fair notice
   and consideration of reliance interests is exacerbated here by its refusal to
   allow petitioners to supplement their applications according to the new
   requirements.
          This is not to say that FDA could not have formally changed its APPH
   requirement from the earlier Guidance documents and declared that only
   long-term, specific product studies would be acceptable, but it did not do
   that. See Regents, id. at 1914 (“[m]aking that difficult decision was the
   agency’s job, but the agency failed to do it”).
          The second scenario posits that FDA’s carefully crafted Guidance
   language authorized maximum agency discretion to approve or disapprove
   PMTAs as circumstances evolved.            The “circumstances” entailed the
   increasing underage use of ENDS products, which resulted in the 2020




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   Guidance on which the majority rests much of its analysis. 12 Relying on
   snippets of Guidance language, FDA does not admit that it changed its
   evaluation policy, and the majority agrees. But this scenario is of no use in
   defending the MDOs. To begin, it is counterfactual. The MDOs rested on
   rejecting the types of evidence the agency had previously found likely
   sufficient, while requiring product-specific studies conducted “over time”
   that it had previously found unnecessary. But laying that aside, the Supreme
   Court holds that “[w]hen an agency changes its existing position, it…must
   at least display awareness that it is changing position and show that there are
   good reasons for the new policy.” Encino Motorcars, LLC v. Navarro, 579
   U.S. 211, 136 S. Ct. 2117, 2125-26 (2016) (quotation omitted). It follows that
   “unexplained inconsistency in agency policy is a reason for holding an
   [action] to be an arbitrary and capricious change from agency practice.” Id.at
   2126 (quotation omitted). FDA’s migration from stating that “in general,
   FDA does not expect that applicants will need to conduct long-term studies
   to support an application” to denying petitioners’ MDOs because they
   lacked long-term studies of comparative efficacy is “unexplained” and
   “inconsistent” and therefore arbitrary and capricious.
           FDA, in sum, sealed the petitioners’ doom by changing its evaluation
   rules without giving them notice and by ignoring individualized consideration
   of their plan for marketing restrictions to prevent underage youth access.
   Even with the noblest of motives in mind, a federal agency does not have
   license to run companies out of business without adhering to fixed rules of
   fair procedure. I respectfully dissent.


          12
              To repeat, however, the 2020 Guidance made no mention of and did not consider
   the elements necessary for petitioners to file successful PMTAs, nor did it alter agency
   policy regarding PMTAs; and it presumed “minimal impact” on shops selling products
   like those of petitioners.




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